Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 1 of 29

Fill in this information to identify the case and this filing:

Debtor Name __TG Manufacturing, LLC

 

United States Bankruptcy Court for the: VVestem

Case number (if known): 22-0030,

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 1215

An individual who Is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING — Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

| and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Crealtors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Oo oooooooao

Other document that requires a declaration

 

| declare under penalty of perjury that the foregoing is true and corre

 
 
 

Executed on o3/ ty f 2022. x
MM/DD/YYYY

 
 
 

Signature of

le vin ky le

Printed name

— Pree pdeut

Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 2 of 29

Fill in this information to identify the case

Debtor name __ TG Manufacturing, LLC

United States Bankruptcy Court for the:__Westem District of _MiI

(State)
Case number (If known): _ 22-00302-tg

 

 

C) Check if this is an
amended filing

 

 

 

 

 

 

 

 

 

 

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/5
EE summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
1a. Real property: —
Copy line 88 from Schedule A/B........cccccccccccssesssssssvssessesssssussssesssssssiuasnasnasimussatistsasiusuestasisetisittlebeeeeeccee #08
1b. Total personal property: $
- 1.358.500
Copy line 91A from SCH@dUle A/B.........cccccccssesseccssseessssssseessasssstssussssesssussssssiverseariivessasiuessestivesesasieesisttie eee
ic. Total of all property: $ 1.358.500 |
Copy line 92 from Schedule AVB.o.....ecccceecsssssssssessessssssssuessssusssseesssvesssvsspsnisiessssssivesesiisssteisiieviibesitteeecteeeseeeeeeeccec. a
RE seomary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, fromline 3 of Schedule D......c.cccccccccceecccccccccccc $_6.167,835.92
3. Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)
3a. Total claim am ounts of priority unsecuredclaims:
Copy the total claims fromPart 1 fromline 5a of Schedule E/F o.oo... ococccccc ccccccscsessvessosssssesvstepesssiteseeeeceessseeeeeeeee »  $_149.420.35
3p. Total am ount of claims of nonpriority am ount of unsecured claims:
Copy the total of the amount of claims fromPart 2 fromline 5b of Schedule E/F ooo... ccc ccccsscssscssssssssseeseseessssseccece + $_279,921,04
4. Total Viabilitie sc ccescsssssusescssssssvesecsessssnsunssesssssssssssesssssuivescutsnssasasesesssssssssssassestiivipspusisivteseesiestieeeeeeeeeec.
Lines 2+ 3a+ 3b $_6,597,177,31

 

 

 

 

Official Form 206Sum Sum mary of Assets and Liabilities for Non-Individuals page 1
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 3 of 29

Fillin this information to identify the case:

Debtorname 1G Manufacturing, LLC

 

United States Bankruptcy Court for the:-_ Western

Case number (if known): 22-00302-itg C) Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 426

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (If known). Also Identify the form and line number to which the additional information applies. If an
additional sheet Is attached, include the amounts from the attachment in the total for the pertinent part.

 

 

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the Instructions to understand the terms used In this form.

lame Cash and cash equivalents

 

1. Does the debtor have any cash or cash equivalents?
Gd No. Go to Part 2.
(Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor's
interest

2. Cash on hand $
3. Checking, savings, money market, or financial brokerage accounts (Identify all)

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3:1,

 

3.2. = js oe $

4, Other cash equivalents (identify all)
44.

 

4.2.

 

 

5. Total of Part 4 $
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

 

itlaese Deposits and prepayments

 

6. Does the debtor have any deposits or prepayments?
Ql No. Go to Part 3.

Yes. Fill in the information below.
Current value of

 

debtor's interest
7. Deposits, including security deposits and utility deposits
Description, Including name of holder of deposit
7A, $
7.2: $

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 1
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 4 of 29

Debtor TG Manufacturing, LLG

Case number (known) 22-00302-jtq

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment

 

 

 

 

8.1. $
8.2, §

9. Total of Part 2. 5
Add lines 7 through 8. Copy the total to line 81.

 

 

 

RED Accounts receivable

10. Does the debtor have any accounts receivable?
GH No. Goto Part 4,
Cl Yes. Fill in the information below.

 

 

Current value of debtor's
Interest
11. Accounts receivable
11a. 90 days old or less: = Fcc DP $
face amount doubtful or uncollectible accounts
11b. Over 90 days old: - Fee DD $
face amount doubtful or uncollectible accounts

12. Total of Part 3

 

a
Current vatue on lines 11a + 11b = line 12. Copy the total to line 82.

 

 

:

13. Does the debtor own any investments?
GH No. Goto Part 5,

CJ Yes. Fill in the information below.

Valuation method Current value of debtor's
used forcurrent value _interest

14. Mutual funds or publicly traded stocks not Included in Part 4
Name of fund or stock:
14.1. $
414.2.

 

15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture

Name of entity:

16.1.

ie $
16.2. %

% of ownership:

 

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
Instruments not included in Part 4

Describe:
18.1. $
16.2.

17. Total of Part 4 Me
Add lines 14 through 16. Copy the total to line 83.

 

 

 

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 2

 
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 5 of 29

Debtor —1G Manufacturing LIC Case number 22-00302-j
Name

ERED teventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
C] No. Go to Part 6.
() Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

 

 

General description Date of the last Net book value of =‘ Valuation method used Current value of
physicalinventory debtor's interest for current value debtor's interest
(Where available)
19. Raw materials
5,000.
MM /DD/YYYY 5. FMV s_3 0.00
20. Work In progress
MM 7DD/YYYY 5. $
21. Finished goods, including goods held for resale
MM /DD/YYYY § §
22. Other inventory or supplies
MM 7DD/YYYY § $
23. Total of Part § $_35 000.00
Add lines 19 through 22. Copy the total to line 84.
24. Is any of the property listed in Part 5 perishable?
CA No
Q Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
QI No
QO) Yes. Book value Valuation method Current value
26. Has any of the property listed In Part 5 been appraised by a professional within the last year?
lt No = .
QO) yes

Farming and fishing-related assets (other than titled motor vehicles and land)

 

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
(i No. Go to Part7.

C) Yes. Fill in the information below.

 

 

 

 

 

 

 

General description Net book value of | Valuation method used — Current value of debtor's
debtor's interest for current value Interest
(Where available)
28. Crops—eilther planted or harvested
8 3
29. Farm animals Examples: Livestock, poultry, farm-raised fish
8. $
30. Farm machinery and equipment (Other than titled motor vehicles)
$. $,
31. Farm and fishing supplies, chemicals, and feed
$. $.
32. Other farming and fishing-related property not already listed in Part 6
§ §,

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 3
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 6 of 29

 

 

Debtor _1G Manufacturing LLC Case number (irkmown__ 2. 2-003{ 2-itg
Name =
33. Total of Part 6. $
Add lines 28 through 32. Copy the total to line 85.

35.

37.

Is the debtor a member of an agricultural cooperative?
C) No
Q) Yes. Is any of the debtor's property stored at the cooperative?
C] No
C] Yes
Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
CI No

C) Yes. Book value $ Valuation method Current value $
Is a depreciation schedule avallable for any of the property listed in Part 67

C) No

QO) Yes

Has any of the property listed In Part 6 been appraised by a professional within the last year?

LI No
QO) Yes

| Part 7: FE furniture, fixtures, and equipment; and collectibles

38.

39.

40.

41.

42.

43.

45.

Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

LJ No. Go to Part 8.
Cl Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

 

 

 

Add lines 39 through 42. Copy the total to line 86.

Is a depreciation schedule available for any of the property listed in Part 7?
QO No
WY Yes

Has any of the property listed in Part 7 been appraised by a professional within the last year?

@ No
C) ves

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

General description Net book value of Valuation method Current value of debtor's
debtor's interest used for current value interest
(Where available)
Office furniture
é FMV 2,500.00
Office fixtures
$ $
Office equipment, including all computer equipment and
communication systems equipment and software
Collectibles Examples: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles
42.4 $ 3
42.2 $ $
42.3 $ $
Total of Part 7. $
3,500.00

 

page 4

 

 
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 7 of 29

Debtor TG Manufacturing, LLC Case number if known) 22-00302-itg

 

las Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
C) No. Go to Part 9.
® Yes. Fill in the information below.

General description Net book value of Valuation method used — Current value of

Includ ke, model, and identifi bers (Le., VIN debtor's interest for current value debtor's interest
le year, make, , a entification num .8., VIN,
HIN, or N-number) (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

 

 

 

 

 

 

 

 

 

 

 

 

 

474 $ $
47.2 $. $.
47.3 $ $
47.4 $ $

48, Watercraft, trailers, motors, and related accessories Examples: Boats,

trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1 $, $
48.2 $ 5.

49. Aircraft and accessories
49.1 $. $
49.2 $. $

50. Other machinery, fixtures, and equipment (excluding farm

machinery and equipment)
Equipment/Machinery $ FMV s_1,500,000.00

 

 

 

51. Total of Part 8.

s_1,500,000.00
Add lines 47 through 50. Copy the total to line 87.

 

 

 

52. Is a depreciation schedule available for any of the property listed in Part 8?
Q) No

| Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
No

Q Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page §
Debtor i

Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 8 of 29

ring, LLC

Name

>

54.

55.

57.

Does the debtor own or lease any real property?
C) No. Go to Part 10.

4 Yes. Fill in the information below.
Any buliding, other Improved real estate, or land which the debtor owns or in which the debtor has an Interest

Case number trio __22-00302-ita

 

 

 

 

 

 

 

 

 

 

 

 

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

Is a depreciation schedule avallable for any of the property listed In Part 97
CK No

OQ yes

. Has any of the property listed in Part 9 been appraised by a professional within the last year?

hd No

O Yes

GREE: tntanaivies and intellectual property

59.

60.

61.

62.

63.

65.

Official Form 206A/B

Does the debtor have any Interests In intangibles or Intellectual property?
OQ No. Goto Part 11.
C) Yes. Fill in the information below,

 

 

Description locati Nature and extent Netbook valueof Valuation method used Current value of
caesar 9 Pe LN el for current value debtor's interest
Assessor Parcel Number (APN), and type of property in property (Where available)
(for example, acreage, factory, warehouse, apartment
or office building), if available,
66.1_172nd Ave Grand Haven Mil _Leashold/| essee $_0.00
56.2, $ s
56.3, 8 8
55.4 $ 8
65.5 s. $
55.8 $ $
. Total of Part 9,

 

 

 

 

 

 

General description Net book value of Valuation method Gurrent value of
debtor's interest used for current value debtor's Interest
(Where available)
Patents, copyrights, trademarks, and trade secrets
3 $
Internet domain names and websites
i: m $ —EMV s__ 0.00
Licenses, franchises, and royalties
§ §
Customer lists, mailing lists, or other compilations
§ $
. Other Intangibles, or intellectual Property 5
$

 

Goodwill

 

. Total of Part 10.

Add lines 60 through 65. Copy the total to line 89.

Schedule A/B: Assets — Real and Personal Property

 

 

 

page 6

 

 
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 9 of 29

Debtor mG Manufacturing, LLG Case number (rinown,__22-00302-jtg

67. Do your lists or records include personally identifiable Information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
KX) No
O) ves

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

© No
Q) Yes
69. Has any of the property listed in Part 10 been appralsed by a professional within the last year?
EK) no
C) Yes

a other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.
QW No. Go to Part 12.

CJ Yes. Fill in the information below.

Current value of
debtor's Interest

71. Notes receivable
Description (include name of obligor)

 

Total face amount doubtful or uncollectible amount
72, Tax refunds and unused net operating losses (NOLS)

Description (for example, federal, state, local)

 

Tax year $
Tax year
Tax year $

 

A

 

73. Interests in insurance policies or annuities

 

74. Causes of action against third partles (whether or not a lawsuit
has been filed)

 

Nature of clalm

 

Amount requested $

75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims

 

Nature of claim

 

Amount requested $
76. Trusts, equitable or future interests in property

 

77. Other property of any kind not already listed Examples: Season tickets,
country club membership

 

 

 

78. Total of Part 11,
Add lines 71 through 77. Copy the total to line 90.

 

 

 

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

O No
QO) ves

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 7
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 10 of 29

 

Debtor JS Manufacturing, LLC Case number (known 22-00302-jtg

 

ise Summary

In Part 12 copy ail of the totals from the earlier parts of the form.

Type of property Current value of Current value
personal property of real property
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1. $_0.00
81. Deposits and prepayments. Copy line 9, Part 2. s_0,00 _
82. Accounts receivable. Copy line 12, Part 3. s_0.00
83. Investments. Copy line 17, Part 4. s_0.00
84. Inventory. Copy line 23, Part 5. s__35,000.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $_0.00 _
86. Office furniture, fixtures, and equipment: and collectibles. $
—_3,500,00-
Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8. $_1,500,000.00
88. Real property. Copy line 56, Part 9. ....cccscocsscssssssmsvsisssessssnsstssnisseseceseeeecs | $0.00 _
89. Intangibles and intellectual property. Copy line 66, Part 10. $_000
90. All other assets. Copy line 78, Part 11. + s_0.00

po | naan
91. Total. Add lines 80 through 90 for each COIUMN...... cece. Ste. | $1,538,500. I on SO

92. Total of all property on Schedule A/B, Lines 918 F OTD HO ca cssnsstesstsssessecscsesesseeseseseees

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

$_1,538,500 _

 

page 8

 
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 11 of 29

Fill in this information to identify the case:

Debtorname _ TG Manufacturing, LLC

United States Bankruptcy Court for the: __ Western

 

 

Case number (If known): 22-00302-jt9
Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
Q No. Check this box and submit page 1 of this form to the court with debtor's other schedules, Debtor has nothing else to report on this form.

Q) Yes. Fill in all of the information below.

List Creditors Who Have Secured Claims

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
secured claim, list the creditor separately for each claim.

Creditor’s name

 

 

 

Describe debtor's property that is subject to a lien

Column A
Amount of claim

Do not deduct the value
of collateral.

C) Check if this is an

amended filing

12/15

Column B

Value of collateral
that supports this
claim

 

 

 

 

 

 

 

 

 

 

Bank of America ayy pgcots s_6,167,837.92 1,538,500.00
Creditor’s mailing address
-Grand Rapids MI 49503 Describe the lien .
UCC Lien —
Creditor’s email address, if known Is the creditor an insider or related party?
No
QC) Yes
Date debt was incurred 4/18/2019 owe else liable on this claim?
No
ar i of account OX Yes. Fill out Schedule H: Codebtors (Official Form 208H)
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
Same property? Check all that apply.
ey No . . . Q Contingent
Yes. Specify each creditor, including this creditor, oO Unliquidated
and its relative priority. Q Disputed
See Attached
Creditor’s name Describe debtor's property that is subject to a lien
ae 5. $
Creditor’s mailing address
Describe the lien
Creditor’s email address, if known Is the creditor an insider or related party?
QO) No
OQ) ves
Date debt was incurred a“ else liable on this claim?
No
Last 4. dighs of account OQ) Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number re
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
QO No Q Contingent
C1 Yes. Have you already specified the relative ) Unliquidated
priority? Disputed
C1 No. Specify each creditor, including this
creditor, and its relative priority.
Q Yes. The relative priority of creditors is
specified onlines
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional $

Page, if any.

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of Ss
Official Form 206D

Case:22-00302-)tg

Copy this page only if more space Is needed. Continue numbering the lines sequentially from the

previous page.

[2] Creditor’s name
CT Corporation System

Creditor's malling address

40600 Ann Arbor Rd E, Suite 201
P| th. Michi 18170

Creditor’s email address, if known

 

Date debt was incurred _4/19/2021

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
1 No
Pa Yes. Have you already specified the relative
Priority?
QO No. Specify each creditor, including this
creditor, and its relative priority.

 

[4] Yes. The relative priority of creditors is
specified on lines

Creditor’s name

Column A
Amount of claim

Describe debtor's property that Is subject to a lien

 

 

 

Describe the lien
UCC

Is the creditor an insider or related party?
GH No
QO Yes

Is anyone else liable on this claim?
No
C2 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

OQ Contingent
) unliquidated
ib | Disputed

Describe debtor's property that is subject to a lien

Automatic Spring Products Corporation

Creditor's mailing address

803 Taylor St
Grand Haven, M149417

Creditor’s email address, if known

 

Date debt was incurred _ 10/15/2021

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?

Q) No
Cl Yes. Have you already specified the relative
Priority?

QO No. Specify each creditor, including this
creditor, and its relative priority.

 

(1 Yes. The relative priority of creditors is
specified onlines_

 

 

 

Describe the lien

 

UCC
Is the creditor an insider or related party?
@ No
Yes

Is anyone else liable on this claim?
No
Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

QO) Contingent

O) unliquidated
QW Disputed

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

Doc #:21 Filed: 03/21/2022 Page 12 of 29

Case number (ir known) 22-00302-itg

Column B
Value of collateral
Do not deduct the value that supports this

of collateral. claim

page Z- of _S
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 13 of 29

Debtor IG Manufacturing LLC Case number (itknown)__ 2 2-00302-ita
Name

Column A Column B
eka “ditional Page Amount of claim Value of collateral
Do not deduct the value that supports this
of collateral. claim

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page.

[2] Creditor’s name Describe debtor's property that is subject to a lien

Official Form 206D

Ultimate Gaging Systems, Inc.

Creditor's mailing address

55_Campau Ave NW, Suite 300
Grand Rapids Michi 19503

Creditor’s email address, if known

 

Date debt was incurred _12/27/2021 _
Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
O) No

C] Yes. Have you already specified the relative
priority?

QO No. Specify each creditor, including this
Creditor, and its relative priority.

Ql Yes. The relative priority of creditors is
specified on lines

Creditor's name

 

Creditor’s mailing address

 

 

Creditor’s email address, if known

 

Date debt was Incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
QO] No
Q Yes. Have you already specified the relative
Priority?
C1 No. Specify each creditor, including this
creditor, and its relative priority.

C1 Yes. the relative priority of creditors is
specified on lines

—See UCC Lien Attached _. Unknown

 

 

 

Describe the lien UCC

 

Is the creditor an insider or related party?
No
Yes

Is anyone else liable on this claim?
No
QO) Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

Q Contingent
QO) unliquidated
Disputed

Describe debtor's property that is subject to a lien

 

 

 

Describe the lien

 

Is the creditor an insider or related party?
Q No
C1] ves

Is anyone else liable on this claim?
Q] No
C) Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

a Contingent
Unliquidated
QO) pisputea

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page 3 of SS
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 14 of 29

Debtor Case number (it mown)
Name

List Others to Be Notified for a Debt Already Listed in Part 4

 

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed In Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

On which line in Part 1 Last 4 digits of
Name and address did you enter the account number
related creditor? for this entity

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.__

 

 

 

Line 2. __

 

 

 

Line 2.__

 

 

 

Line 2.

 

 

 

Line 2. __

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line2.

 

 

 

Line 2. __

 

 

 

 

Line 2. ___

 

 

Line 2.

 

 

Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page y of x
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 15 of 29

SCHEDULE D: CREDITORS WHO HAVE CLAIMS SECURED BY PROPERTY

Creditor 2.1 — Other Creditors with priority in the following order:
First Priority: Bank of America

Second Priority: CT Corporation System

Third Priority: Automatic Spring Products Corporation

Fourth Priority: Ultimate Gaging Systems, Inc

¢ of
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 16 of 29

Fillin this information to identify the case:

Debtor

TG Manufacturing LLC.

United States Bankruptcy Court for the: _Western
22-00302-jtg

Case number
{If known)

 

CI) Check if this is an
amended filing

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims 1215

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part Included In this form.

 

eee us All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
C) No. Go to Part 2.
Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or In part. If the debtor has more than
3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 

 

 

Total claim Priority amount
ry Priority creditor's name and mailing address As of the petition filing date, the claim is: $ s_ 8 952 27
City of Kentwood Check ail that apply. 8,952.27
4900 Breton Rd SE, PO Box 8848 5 Unhaueebed The property tax is believed to have been
Grand Rapids, MI 49508 Disputed assessed from the last 1 year.
Date or dates debt was incurred Basis for the claim:
Tax Year 2021/2022 _Personal Property Tax Assessment
Last 4 digits of account Is the claim subject to offset?
number — CK No
Q) Yes

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) (_8)(B)

 

Priority creditor's name and mailing address As of the petition filing date, the claim is: s 8,599.46 s_ 8599.46
Dorr. Township. Check ail that apply.
QO) Contingent
-4196 18th Street. _q Unliquidated
Dorr, Michigan 49323 QC) Disputed
Date or dates debt was incurred Basis for the claim:
Tax Year 2021/2022
Last 4 digits of account Is the claim subject to offset?
number — No
Specify Code subsection of PRIORITY unsecured es
claim: 11 U.S.C. § 507(a)
Priority creditor's name and mailing address As of the petition filing date, the claim is: 47,294 30 $_47,294.30
Grand Haven Township Check all that apply.
11300.168th A QO) Contingent
Q) Unliquidated
Grand Haven, MI 49412 QO) Disputed
Date or dates debt was incurred Basis for the claim:
Tax Year 2021/2022 —Personal Property Tax _
Last 4 digits of account Is the claim subject to offset?
number ee No
QO Yes

Specify Code subsection of PRIORITY unsecured

claim: 11 U.S.C. § 507(a) (YB)

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of f 2
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 17 of 29

Debtor

 

TG Manufacturing, LLC
Name

 

 

Copy this page if more space is needed. Continue numbering the lines sequentially from the

previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.

b_ | Priority creditor's name and mailing address

United State of America

Internal Revenue Service

 

Date or dates debt was Incurred
20? 1

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

b_ | Priority creditor's name and mailing address

Allegan County Treasurer
113 Chestnut Street
Allegan, Michigan 49010

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

f2.__ | Priority creditor's name and mailing address

Mississippi State Tax Commission
PO Box 23075
Jackson, Michigan 39225-3075

Date or dates debt was incurred
2021

Last 4 digits of account
number

 

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

_ | Priority creditor's name and mailing address

—Ottawa County Treasurer

—12270 Fillmore St#155
West Oli Michi

Dath@4 GQes debt was incurred

__ 2021/2022

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

Official Form 206E/F

Case number (if known) 22-00302-jtg
Total claim Priority amount
$_51863 77 $ 51,863.77

As of the petition filing date, the claim is:
Check all that apply. $4,000.00 $4,000.00
) Contingent
QO) unliquidated
Q) Disputed

Basis for the claim:

Is the claim subject to offset?
CK No
QO) Yes

As of the petition filing date, the claim Is:

Check all that apply.
QO Contingent
(J unliquidated
QO) Disputed

Basis for the claim:

Is the claim subject to offset?
CX No
Q Yes

As of the petition filing date, the claim is:

Check all that apply.
] Contingent
Q) unliquidated
OC) Disputed

Basis for the claim:

Is the claim subject to offset?
No
Yes

As of the petition filing date, the claim is:

Check all that apply.

) Contingent

Q) unliquidated
Disputed

Basis for the claim:

Is the claim subject to offset?
CX No

QO) Yes

 

s 6,761.38 s 6,761.38
s_ 2,704.00 $2,704.00
s_19,245.17 $19,245.17

 

Schedule E/F: Creditors Who Have Unsecured Claims

page ot J 2~
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 18 of 29

Debtor

—TG Manufacturing ILC
Name “

22-00302-itg

Case number (if known),

ee us All Creditors with NONPRIORITY Unsecured Claims
3. List In alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority

unsecured claims, fill out and attach the Additional Page of Part 2.

fs] Nonpriority creditor's name and mailing address
Companion Life
PO Box 6007
“Newark, Nd-07101-8652-—_———

 

Date or dates debt was incurred
Last 4 digits of account number

2021 - 2022 _
Nonpriority creditor's name and mailing address

616 Marketing Group, LLC
6743 Courland Dr NE, #200

—ReekferdMichigan-49344——_—______—

 

2021

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address
AJ Oster, LLC & Alumet
PO Box 823200

~~ Philadephia, PA T9T82-3200

 

 

2021

Date or dates debt was Incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address
Absopure Water CO
Dept 992677

nn m ATO
Pw eVaA TOUTTOU

—Plymeuth MiH4847%29 $$
2021-2022

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address
Accurate REfinishing Serv
3361 Leonard NW

 

—Grand Rapids Michigan 49534-3668 0

 

Date or dates debt was incurred
Last 4 digits of account number

seOR8

Nonpriority creditor's name and mailing address

Advane Plating & Finishing

840 Coatta Grove SE
~ Grand Rapids, Ml 49507

 

 

Date or dates debt was incurred
Last 4 digits of account number

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Amount of claim

As of the petition filing date, the claim is:

Check alll that apply. $__ 23,182
OQ) Contingent

QO) unliquidated

Q) Disputed

Basis for the claim: _ Life Insurance Premiums

 

Is the claim subject to offset?
CX No
QO Yes

As of the petition filing date, the claim is:
Check ail that apply.
OQ Contingent
QO) unliquidated
Disputed

Basis for the claim: __ Vendor Marketing

Is the claim subject to offset?
No
Yes

s_1,080.00

As of the petition filing date, the claim is:
Check all that apply.

C) Contingent

Q) unliquidated

QO Disputed

Basis for the claim: Vendor

\s the claim subject to offset?
No

QO yes

5 6,959.75

As of the petition filing date, the clalm Is:
Check all that apply.

() Contingent

1 Unliquidated

Q Disputed

$__120 34

Basis for the claim: _Ventor

Is the claim subject to offset?
Q) No
Yes

As of the petition filing date, the claim is:
Check all that apply.

Q Contingent

QO) unliquidated

Disputed

Basis for the claim:_Vendor

Is the claim subject to offset?

CX No
OQ Yes

$_134 28

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

QO) unliquidated

QO) Disputed

ars i:

Basis for the claim: _ Vendor

Is the claim subject to offset?

No
QO yes

paged of 42.
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 19 of 29

—1G Manufacturing 11C

Debtor
Name
PERE vssisone Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

Nonpriority creditor's name and mailing address
AFI Industrials
475 Kehoe Bivd
Carol Stream, IL 60188

 

Date or dates debt was incurred
Last 4 digits of account number

2021

b_] Nonpriority creditor's name and mailing address

Airgas
2828 28th Street

—Grandville, Michigan 49446 ——___

 

Date or dates debt was incurred 2021/2022

Last 4 digits of account number

b_] Nonpriority creditor's name and mailing address

Aladdin Steel, Inc.
PO Box 89

—Gillespie 62033
H.-62033

 

 

2021

Date or dates debt was incurred
Last 4 digits of account number

s_| Nonpriority creditor's name and mailing address
—Allintegrated Solutions
5075 Clay Avenue
SC 1 Rapids—Michi 19548

 

Date or dates debt was incurred 2021

Last 4 digits of account number

fa__] Nonpriority creditor's name and mailing address

All-Phase MI Division
PO Box 310660
—Des Moines- 1A 50334

 

 

2021

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (inom) _ 22-00302-jtg =

Amount of claim

As of the petition filing date, the claim ts:

Check all that apply.

QO) Contingent

QO) unliquidated

QO Disputed

O) Liquidated and neither contingent nor
disputed

s_ 7,290.02

Basis for the claim:_ Vendor

Is the claim subject to offset?
No
Yes

As of the petition filing date, the claim is:
Check all that apply s_17,504.52

QO) Contingent
OQ) unliquidated
QO) Disputed

Basis for the claim: Vendor

Is the claim subject to offset?
No
Yes

As of the petition filing date, the claim Is:
Check all that apply.
Q) Contingent
QO) Unliquidated
Disputed

Basis forthe claim: _ Vendor

Is the claim subject to offset?
No
Yes

s__ 1,497.58

As of the petition filing date, the claim is:
Check ail that apply.

QC) Contingent

QO) unliquidated

QO) Disputed

s__ 31,735.18

Basis for the claim:_ Vendor

Is the claim subject to offset?
No
Yes

As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
QO Unliquidated
Disputed

Basis for the claim: Vendor

Is the claim subject to offset?
No
Yes

s__ 4,144.26

page Sot M2
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 20 of 29

TG Manufacturing, LLC
Name

Debtor

Case number (itknowny

List All Creditors with NONPRIORITY Unsecured Claims

22-00302-jtg

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority

unsecured claims, fill out and attach the Additional Page of Part 2.

a] Nonpriority creditor's name and mailing address

 

—ACTAEqupment Co:
25538 Betwork Place

Chicago, IL 60673

 

Date or dates debt was incurred
Last 4 digits of account number

a)

2] Nonpriority creditor's name and mailing address

; Financial Tax Collect

10333 N. Meridian St STE 270

—tndianapotis tN-46289—_——

 

Date or dates debt was Incurred 2022

Last 4 digits of account number

bs] Nonpriority creditor's name and mailing address

5281 Clyde Park Ave SW, Suite 14

 

Wyoming, Michigan 49512

 

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address
ARCO Steel Co
4320 Winfield Rd, Ste 540
—Warrenviltle tt 60555

 

 

2021

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address
APE Properties

840 Cottage Grove SE

 

Grand Rapids, MI 49507

 

Date or dates debt was incurred 2022

Last 4 digits of account number

Nonpriority creditor's name and mailing address
Arctic Clear Water

 

PO Box 149

 

AO d A
—Burnipsy Michigan 49344

 

2021

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

As of the petition filing date, the claim is:
Check all that apply.

QO) Contingent
) Unliquidated
Disputed

Basis for the claim:

Is the claim subject to offset?
No
Yes

As of the petition filing date, the claim Is:
Check all that apply.
C) Contingent
CJ Unliquidated
Disputed

Basis for the claim:

Is the claim subject to offset?

O no
QC) ves

As of the petition filing date, the claim is:
Check all that apply.
QO) Contingent
C) unliquidated
Disputed

Amount of claim

s___ 10,835.83

SSS

s_ 9,123.26

; 6,186.66

Basis for the claim: Vendor

Is the claim subject to offset?
QO No

QO) Yes

As of the petition filing date, the claim is:
Check ail that apply.

QO Contingent

Q) Unliquidated

QO) Disputed

Basis for the claim:

Is the claim subject to offset?
No
Yes

As of the petition filing date, the claim is:
Check ail that apply.

Q Contingent

QC] Unliquidated

C1 Disputed

Basis for the claim:

Is the claim subject to offset?
GH No
Yes

As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
Unliquidated
QO Disputed

Basis for the claim: Vendor

Is the claim subject to offset?
QO no
QO yes

Schedule E/F: Creditors Who Have Unsecured Claims

§ 2,799.30

8,596.92

26.95

rd of fe
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 21 of 29

 

 

 

 

 

Debtor — Manufacturing, LLC Case number (#known) _22-00302-jtg
‘Zlaetee Additional Page
Copy this page only if more space Is needed. Continue numbering the lines sequentially from the ancuiik Ot clad
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page. =
p_] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is:
‘ ; Check all that apply. s_12,32933 00
—Ascentium Capital QO Contingent
PO Box 11407 a ee
—— ispu
Birmingham, AL 35246 2 Liquidated and neither contingent nor
disputed

 

Date or dates debt was incurred
Last 4 digits of account number

2021

b_] Nonpriority creditor's name and mailing address

ASP Plating Co
211 N. Griffin
—Grand Haven_Mi49447

 

Date or dates debt was incurred
Last 4 digits of account number

2021

b_]| Nonpriority creditor's name and mailing address

AT&T
PO Box 5014
—Garel Stream kt 60497

 

 

Date or dates dabt was incurred 2021

Last 4 digits of account number

b_] Nonpriority creditor's name and mailing address
_Atmos Energy
PO Box 790311
—St-teouis MS-63479-034—__—_¥_—

 

2022

Date or dates debt was incurred
Last 4 digits of account number

p_| Nonpriority creditor's name and malling address

AXSYS Inc
29627 W Tech Drive

—Wixom,M1 48393

 

 

Date or dates debt was incurred

2021

Last 4 digits of account number

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Basis for the claim: _ Loan Arrears

Is the claim subject to offeet?

QO No
C) Yes

As of the petition filing date, the claim is:
Check all that apply.

() Contingent

QO Unliquidated

QO Disputed

$100.00 |

Basis for the claim:

Is the claim subject to offset?
No
Yes

As of the petition filing date, the claim is:
Check all that apply

C) Contingent

QO) unliquidated

CQ) Disputed

146.83

Basis for the claim:

Is the claim subject to offset?

No
OQ yes

As of the petition filing date, the claim is:
Check all that apply.

QO Contingent
Q) unliquidated
Q) Disputed

Basis for the claim: Utility

Is the claim subject to offset?
No
Yes

$. 1,226.87

As of the petition filing date, the claim is:
Check all that apply. s_2,888.00

QO) Contingent
unliquidated
Q Disputed

Basis for the claim: Vendor

Is the claim subject to offset?
No
Yes

page? of rf. ‘a
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 22 of 29

Debtor ——1G Manufacturing LLC.
Name

Case number ¢fimown)__22-00302-4tg

ee us All Creditors with NONPRIORITY Unsecured Claims

3. List In alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority

unsecured claims, fill out and attach the Additional Page of Part 2.

Nonpriority creditor's name and mailing address
AZZ Metal Coatings
7825 South Home Stead Drive,

 

 

Date or dates debt was incurred 2021

Last 4 digits of account number

2] Nonpriority creditor's name and mailing address

 

12320 Colube Street
tivoniia—Mit8+50—

 

 

Date or dates debt was incurred
Last 4 digits of account number

2021

fs3| Nonpriority creditor's name and mailing address
—Beaver Research CO

3700 E. Kilgore Rd
Portage, Michigan 49002

 

 

2021

Date or dates debt was incurred
Last 4 digits of account number

fsa] Nonpriority creditor's name and mailing address
80 E. Lincoln

 

2021

Date or dates debt was incurred
Last 4 digits of account number

f.s| Nonpriority creditor's name and mailing address

 

300 Ed Boet Drive
Battle Creek, Ml 49037

 

 

2021

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address

Bravo Systems, Inc.
300 Ed Leboet Drive
a ek, Michigan

 

2021

Date or dates debt was incurred
Last 4 digits of account number

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Amount of claim

As of the petition filing date, the claim is:

Check all that apply. $
Q) Contingent

OQ) Unliquidated

OC Disputed

11.164.38

Basis for the claim:

Is the claim subject to offset?

QC) No
QC) Yes

As of the petition filing date, the claim is:
Check all that apply.
O) Contingent
QO) unliquidated
Disputed

59,142.15

Basis for the claim:

Is the claim subject to offset?

Ono
O Yes

As of the petition filing date, the claim is:
Check all that apply.

OQ) Contingent

OQ Unliquidated

QO Disputed

s 4,074.92

Basis for the claim:

Is the claim subject to offset?
O) No

O ves

As of the petition filing date, the claim is:
Check all that apply.

QO) Contingent

Q) unliquidated

Q Disputed

Basis for the claim:

Is the claim subject to offset?

No
C] ves

As of the petition filing date, the claim is:
Check all that apply.

QO Contingent

O) unliquidated

Q) Disputed

Basis for the claim: Vendor

Is the claim subject to offset?
No

O Yes

$__3 449 84

As of the petition filing date, the claim is:
Check all that apply.

QO Contingent

QO) unliquidated

QO) Disputed

114.82

Basis for the claim:

Is the claim subject to offset?

QO No
O Yes

page (ot JB
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 23 of 29

ole Manufacturing, LLC

= Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

p_] Nonpriority creditor's name and mailing address
— Cardinal Machinery
1329 Potrero Avenue
South Elmonte, CA 91733

 

Date or dates debt was incurred
Last 4 digits of account number

2021/2022 _

Nonpriority creditor's name and mailing address

Central Steel & Wire
PO Box 7344082

—Chicago tL 60673

 

 

Date or dates debt was incurred

i

Last 4 digits of account number

b_] Nonpriority creditor's name and mailing address

__Certa Site, LLC
4303 40th Street SE

- | Rapids Michi 40549 QO

 

Date or dates debt was incurred
Last 4 digits of account number

2021

b_] Nonpriority creditor's name and mailing address
—Certified Scales"
4370 Chicago Drive Ste B

= sarsivilie: Mishineraadioousos

 

Date or dates debt was incurred
Last 4 digits of account number

oi2024

fa_] Nonpriority creditor's name and mailing address

ics_Inc

PO Box 8067

—Ft-Wayne-th-46898—————___ 0

 

Date or dates debt was incurred 2021/2022

Last 4 digits of account number

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (i known)__22-00302-jtp

Amount of claim

As of the petition filing date, the claim is:
Check all that apply.

Q Contingent

O) Unliquidated

Q) Disputed

OQ) Liquidated and neither contingent nor
disputed

5 545.00

Basis for the claim:

 

Is the claim subject to offset?
CK No
Yes

As of the petition filing date, the claim is:
Check all that apply.
QO) Gontingent
O) unliquidated
Disputed

s__8,330.00

Vendor

Is the claim subject to offset?

No
QO Yes

Basis for the claim:

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

C1 unliquidated

Disputed

s__930.31

Basis for the claim:

Is the claim subject to offset?
No
Yes

As of the petition filing date, the claim is:
Check all that apply. 5

QO) Contingent
QO) unliquidated
O) Disputed

125.00

 

Basis for the claim: _ Vendor

Is the claim subject to offset?
No
Yes

As of the petition filing date, the claim is:
Check aif that apply.

QO) Contingent

Unliquidated

Disputed

s__ 2,400.00

Basis for the claim: Vendor

Is the claim subject to offset?
No

QO yes

page F os se
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 24 of 29

Debtor ——__1.G Manufacturing, LLC
Name

Case number (itknown)__22-00302-jtg

List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority

unsecured claims, fill out and attach the Additional Page of Part 2.

Nonpriority creditor's name and mailing address
CNA
PO Box 790094
Saint Louis Me-6

cel
WIN? Wo

 

470
rg

 

Date or dates debt was incurred 2021

Last 4 digits of account number

2] Nonpriority creditor's name and mailing address

Coastal Curtains
1201 Industrial Ave

—Hotland -Wi-49423—_£_—____—_—___—_

 

2021

Date or dates debt was incurred
Last 4 digits of account number

fas] Nonpriority creditor's name and mailing address
—Comcast Business
PO Box 70219
Philadelphia, PA 1917/6

 

 

Date or dates debt was incurred 2021

Last 4 digits of account number

fa] Nonpriority creditor's name and mailing address

——Consumers Energy
Payment Center
— PO Box 746308

2022

 

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address

Cooper &BrassSales
172090 E 10 Mile Ste 250

Eastpointe, MI 48021-3349

 

 

2021

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address
Corsporate Creations Int
801 US Highway 1

North Pain Beach, Ft 33468——_

 

 

2022

Date or dates debt was incurred
Last 4 digits of account number

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Amount of claim

As of the petition filing date, the claim is:

Check all that apply. $1
Q) Contingent

Q) unliquidated

Q) Disputed

089.

Basis for the claim:

ae clalm subject to offset?
No
QO Yes

As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
Q) unliquidated
Disputed

s 458.66

Basis for the claim:

 

Is the clalm subject to offset?
No
Yes

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

OQ) unliquidated

O) Disputed

Basis for the claim: Vendor

Is the claim subject to offset?
OX No

QO) yes

1,494.20

As of the petition filing date, the claim is:
Check ail that apply.

Q) Contingent

C1 unliquidated

Q Disputed

s_39.004.06

Basis for the claim:_ Vendor

ls the claim subject to offset?
No
Yes

As of the petition filing date, the claim is:
Check all that apply.
OQ) Contingent
Q Unliquidated
Disputed

Basis for the claim:_ Vendor

Is the claim subject to offset?

G@ No
CQ) Yes

s_ 1.06209

As of the petition filing date, the claim is:
Check all that apply.

QC) Contingent

Q) unliquidated

Q) Disputed

; 160.00

Basis for the claim: _ Vendor

Is the claim subject to offset?

O No
OQ) yes

page Pus LB
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Debtor yap Manufacturing, LLC Case number (itimown)___22-00302-jtg
EE scstiona Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the ancora,
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.
b_] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is:
‘oti Cc Check all that apply s_9,266.91 00
__Coyote Logistics, LL: Q Contingent
PO Box 742636 a palleidated
isp
Atlanta, GA 30374 C1 Liquidated and neither contingent nor
disputed
Basis fortheclaim: Vendor ss —_
Date or dates debt was incurred vl | Is the claim subject to offset?
No
Last 4 digits of account number — Yes
b_] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: <
Crane Worldwide Gl conan 1,800.00 —__
PO Box 844174 (J Unliquidated
Dallas TX 75284 Disputed
Basis for the claim: _ Vendor
Date or dates debt was incurred 2021 Is the claim subject to offset?
No
Last 4 digits of account number pais Yes
b_] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 1 125.00
Cuttin Up eect all that apply. $.
Contingent
188 CR 1562 Q unliquidated
—Tupelo_ MS 38804 Disputed

 

 

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address
Delta Material
1984 McCullough Blvd
—Fupelo, MS-38804

 

 

2021

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address

Deluxe
PO Box 4656

—CarolStreamii6oi9g7 C—O

 

2021

Date or dates debt was incurred
Last 4 digits of account number

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Basis for the claim:

Is the claim subject to offset?
No

QC) Yes

As of the petition filing date, the claim Is:
Check ail that apply.

OQ) Contingent

Q) unliquidated

QO) Disputed

s__ 3,118.00

Basis for the claim: _ Vendor

Is the claim subject to offset?
QO) No
Yes

As of the petition filing date, the claim is:
Check ail that apply.

Q) Contingent

) unliquidated

Disputed

3 1,154.22

Vendor

Is the claim subject to offset?

O] No
QO Yes

Basis for the claim:

page 101 LZ a
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Debtor TG Manufacturing, LLC
Name

Case number (i known) 22-00302-jtg

List All Creditors with NONPRIORITY Unsecured Claims

3. List In alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority

unsecured claims, fill out and attach the Additional Page of Part 2.

Nonpriority creditor's name and malling address

DET Energy
PO Box 740786

 

 

Date or dates debt was incurred 2022
Last 4 digits of account number

fs2| Nonpriority creditor's name and mailing address

CBH Attorneys

 

20 Division Ave S #500
Tan pids, Mi

Amount of claim

As of the petition filing date, the claim Is:

Check ail that apply. 8 s_ 2,644.36
QO) Contingent

Q) Unliquidated

QO) Disputed

Basis for the claim: Utility

is the clalm subject to offset?

QO No
QO Yes

As of the petition filing date, the claim is:
Check all that apply. s__Unknown

OQ) Gontingent
Q) unliquidated
Disputed

Basis for the claim:

Date or dates debt was incurred 3/2/2022 - 3/4 Al20¢9"° claim subject to offset?
io

Last 4 digits of account number

Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred
Last 4 digits of account number

fs] Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor’s name and mailing address

 

 

 

Date or dates debt was incurred
Last 4 digits of account number

OQ Yes

As of the petition filing date, the claim Is:
Check ail that apply. __
QO Contingent
Q) Unliquidated
Disputed

Basis for the clalm:

Is the claim subject to offset?
QC) No
Yes

As of the petition filing date, the claim is:

Check all that apply. Fe
QO) Contingent

QO) Unliquidated

QO) Disputed

Basis for the claim:

Is the claim subject to offset?

Q) No
QC) yes

As of the petition filing date, the claim is:
Check all that apply. §
QO Contingent
Unliquidated
QO Disputed

Basis for the claim:

Is the claim subject to offset?

QO) No
QO) Yes

As of the petition filing date, the claim is:

Check all that apply. ee
Q Contingent

QO) Unliquidated

Q) Disputed

Basis for the claim:

Is the claim subject to offset?
No
Yes

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims paga/f_ of LE
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 27 of 29

Debtor Case number di known).
Name

Total Amounts of the Priority and Nonpriority Unsecured Claims

 

6. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

5a, Total claims from Part 1 Sa $. 149,420.35

5b. Total claims from Part 2 sb. + $s _279,921.04

 

5c. Total of Parts 1 and 2

Sc. $_429,341.39
Lines 5a + 5b = 5c.

 

 

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims pagef Zot 1z2
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 28 of 29

Fill in this information to identify the case:

Debtorname __ TG Manufacturing, LLC

United States Bankruptcy Court for the:__ Western District of _ Ml
(State)

Case number (If known): 22-00302-ito Chapter _44

 

 

CQ) Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/16

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

Q) No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

BR Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease

State what the contractor  _Real Fstate | ease Agreement Property Address: 14324 172nd Street, Grand

 

 

 

 

 

 

2.1 lease Is for and the nature ; Haven, Michigan 49417. Landlord is Ronal
of the debtor's interest —Debtoris Lessee ss ———
Duthler. Eviction possession judgment and
State the term remaining order of eviction granted. Ronalth Duthler v
List the contract number of TG Manutacturings, 22-068402-C1
any government contract

 

 

State what the contract or Real Estate Lease Agreement 1233 South Veterans Blvd., Tupelo, MS 38804

2.2 lease is for and the nature .
of the deblor’e Interest Debtor is Lessee

 

 

State the term remaining

List the contract number of
any government contract

 

 

 

 

State what the contract or
2.3 lease Is for and the nature
of the debtor's interest —_—

 

 

 

 

 

State the term remaining

List the contract number of
any government contract

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

24

 

 

 

State the term remaining

List the contract number of
any government contract

 

 

 

 

State what the contract or
2.5 lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

List the contract number of
any government contract

 

 

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases page 1 of f
Case:22-00302-jtg Doc #:21 Filed: 03/21/2022 Page 29 of 29

Fill in this information to identify the case:

Debtor name TG Manufacturing, LLC

United States Bankruptcy Court for the:_ Wester District of _ MI

(State)
Case number (If known): __22-00302-jtg

 

 

QO) Check if this is an

Official Form 206H amended filing
Schedule H: Codebtors ‘she

 

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.

1. Does the debtor have any codebtors?

O) No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
Yes

2. In Column 1, list as codebtors all of the people or entitles who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Codebtor Column 2: Creditor
Name Mailing address Name iene om tonetulée
24 TG Tumkey 1c 739 Cottage Grove SE Te ap
Steésrand Rapids, Michigan 49507 = EF
Clty State ZIP Code
2
2 TGM Coatings, LLC — 1840 142nd Ave Bank of America op
Ss . . sw
“Borr, Michigan 49323 a a
City State ZIP Code
23
_ oo
Sireat QO EF
aG
City State ZIP Code
2.4
ap
Street O EF
QOG
City State ZIP Code
9
° ob
sheet QO EF
uG
Clty State ZIP Code
2.6
ap
Street Q EF
QacG
Gity State ZIP Code

Official Form 206H Schedule H: Codebtors page 1 of ff
